

Gill v Bk Bryant Ave. HDFC., Inc. (2023 NY Slip Op 05312)





Gill v Bk Bryant Ave. HDFC., Inc.


2023 NY Slip Op 05312


Decided on October 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 19, 2023

Before: Kapnick, J.P., Singh, Friedman, González, Shulman, JJ. 


Index No. 33960/18E Appeal No. 844 Case No. 2023-01352 

[*1]Maria Gill, Plaintiff-Respondent,
vBk Bryant Avenue HDFC., Inc., et al., Defendants-Appellants.


Rebore, Thorpe &amp; Pisarello, P.C., Farmingdale (Michelle S. Russo of counsel), for appellants.
Kenneth J. Gorman, New York, for respondent.



Order, Supreme Court, Bronx County (Alison Y. Tuit, J.), entered January 25, 2023, which denied defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
In this action in which plaintiff slipped and fell on the exterior staircase of her apartment building as a result of snow and ice, she raised an issue of fact as to whether her accident occurred while a storm was in progress or whether there was a significant lull in the storm by submitting the affidavit of her experts, who found that the last measurable snowfall occurred approximately six hours prior to the accident (see Pipero v New York City Tr. Auth., 69 AD3d 493, 493 [1st Dept 2010]; Powell v MLG Hillside Assoc., 290 AD2d 345, 346 [1st Dept 2002]). Plaintiff also raised an issue of fact as to whether defendants' snow removal the night before her accident created or exacerbated the slippery condition (see Genen v Metro-North Commuter R.R., 261 AD2d 211, 212 [1st Dept 1999]).
We have considered defendants' remaining arguments and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 19, 2023








